                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE

  UNITED STATES OF AMERICA                            )
                                                      )
  v.                                                  )      No. 2:13-CR-00054-JRG
                                                      )
  RICKIE LEE HOYLE, JR.                               )

                           MEMORANDUM OPINION AND ORDER

         This matter is before the Court on Defendant Rickie Lee Hoyle, Jr.’s Pro Se Motion for

  Compassionate Release Pursuant to 18 U.S.C. § 3582(c)(1)(A) [Doc. 60], the United States’

  Response [Doc. 63], and Mr. Hoyle’s Reply [Doc. 67]. For the reasons herein, the Court will

  deny Mr. Hoyle’s motion.

                                        I.    BACKGROUND

         In 2014, Mr. Hoyle pleaded guilty to using a facility or means of interstate commerce to

  knowingly persuade or attempt to persuade, induce, entice, or coerce a minor to engage in illegal

  sexual activity, in violation of 18 U.S.C. § 2422(b). [Plea Agreement, Doc. 29; Minute Entry,

  Doc. 30]. At sentencing, Mr. Hoyle’s criminal history category was II and his total offense level

  was 29, which included a three-level reduction under USSG §§ 3E1.1(a) and (b) for acceptance

  of responsibility. [PSR, Doc. 32, at 8, 9]. But during sentencing, the Court seriously considered

  taking away this three-level reduction after listening to Mr. Hoyle’s allocution, which disturbed

  the Court because Mr. Hoyle attempted to disown his conduct and shift blame to the minor

  victim. [Hr’g Tr., Doc. 44, at 38:21–22, 39:3–11, 45:5]. Instead of stripping Mr. Hoyle of the

  three-level reduction, the Court ultimately decided to impose a lengthy term of supervised

  release. [Id. at 53:2–3, 56:24–25]. The Court sentenced him to a guidelines-range sentence of

  121 months’ incarceration and 20 years’ supervised release. [Id. at 56:15–18, 56:24–25].




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         Acting pro se, Mr. Hoyle now moves the Court to order his compassionate release under

  18 U.S.C. § 3582(c)(1)(A) due to the COVID-19 pandemic, citing various underlying medical

  conditions including kidney disease, high blood pressure, and a history of sarcoidosis of the

  lungs. [Def.’s Mot. at 6; Med. Records, Doc. 60-1, at 6]. In response, the United States opposes

  Mr. Hoyle’s motion, arguing that his release would pose a danger to the community and be

  inconsistent with 18 U.S.C. §3553(a)’s factors. [United States’ Resp. at 9–12]. Having carefully

  reviewed the parties’ arguments, the Court is now prepared to rule on Mr. Hoyle’s motion.

                                          II.   ANALYSIS

         “[O]nce a court has imposed a sentence, it does not have the authority to change or

  modify that sentence unless such authority is expressly granted by statute.” United States v.

  Thompson, 714 F.3d 946, 948 (6th Cir. 2013) (quoting United States v. Curry, 606 F.3d 323,

  326 (6th Cir. 2010)). Although § 3582(c)(1)(A) begins with the declaration that “[t]he court

  may not modify a term of imprisonment once it has been imposed,” Congress enacted the First

  Step Act, Pub. L. No. 115-319, 132 Stat. 5194 (2018), which amended § 3582(c)(1)(A) so that

  courts can consider motions for compassionate release once a defendant either exhausts his

  administrative remedies with the Bureau of Prisons or waits thirty days after submitting a request

  to the warden:

         The court may not modify a term of imprisonment once it has been imposed except
         that . . . the court, upon motion of the Director of the Bureau of Prisons, or upon
         motion of the defendant after the defendant has fully exhausted all administrative
         rights to appeal a failure of the Bureau of Prisons to bring a motion on the
         defendant’s behalf or the lapse of 30 days from the receipt of such a request by the
         warden of the defendant’s facility, whichever is earlier, may reduce the term of
         imprisonment[.]




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  § 3582(c)(1)(A). The United States concedes that “[t]he Court has authority to consider [Mr.

  Hoyle’s] motion because 30 days have passed since the warden of Hoyle’s facility received his

  request for compassionate release. [United States’ Resp. at 1].

         Under § 3582(c)(1)(A), the Court’s task is to determine whether (1) “extraordinary and

  compelling reasons” warrant a reduction and whether (2) “such a reduction is consistent with

  applicable policy statements issued by the Sentencing Commission” and “the factors set forth

  in section 3553(a) to the extent that they are applicable.” § 3582(c)(1)(A)(i). “[C]ourts have

  universally turned to USSG § 1B1.13 to provide guidance on the ‘extraordinary and compelling

  reasons’ that may warrant a sentence reduction.” United States v. Coker, No. 3:14-CR-085,

  2020 WL 1877800, at *3 (E.D. Tenn. Apr. 15, 2020) (quotation omitted). The Application Notes

  to § 1B1.13 state that, when a defendant suffers from a medical condition, extraordinary and

  compelling reasons exist in two scenarios: the medical condition (1) is a terminal illness or

  (2) “substantially diminishes the ability of the defendant to provide self-care within the

  environment of a correctional facility and from which he or she is not expected to recover.”

  USSG § 1B1.13 n.1(A)(i)–(ii).

         In considering whether Mr. Hoyle’s underlying conditions, against the backdrop of the

  COVID-19 pandemic, “substantially diminish[] [his] ability” to “provide self-care within” the

  prison’s walls and leave him without an expectation of recovery, USSG § 1B1.13 n.1(A)(ii),

  the Court turns to the Center of Disease Control’s guidelines, see, e.g., Cameron v. Bouchard,

  ___ F. Supp. 3d ___, 2020 WL 2569868, at *4–5 (E.D. Mich. May 21, 2020), vacated on other

  grounds, ___ F. App’x ___, 2020 WL 3867393 (6th Cir. 2020); Awshana v. Adduccl, 453 F.

  Supp. 3d 1045, 1050 (E.D. Mich. 2020); see also Valentine v. Collier, 140 S. Ct. 1598, 1600

  n.2 (2020) (citing the CDC’s guidelines in a case involving COVID-19); cf. Sch. Bd. of Nassau



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  Cty. v. Arline, 480 U.S. 273, 287 (1987) (stating that “courts normally should defer to the

  reasonable medical judgments of public health officials” (footnote and quotation omitted)).

  According to the CDC’s guidelines, “[p]eople of any age with the following conditions are at

  increased risk of severe illness from COVID-19”:

             •   Cancer
             •   Chronic kidney disease
             •   COPD (chronic obstructive pulmonary disease)
             •   Heart conditions, such as heart failure, coronary artery disease, or
                 cardiomyopathies
             •   Immunocompromised state (weakened immune system) from solid organ
                 transplant
             •   Obesity (body mass index [BMI] of 30 kg/m2 or higher but < 40 kg/m2)
             •   Severe Obesity (BMI ≥ 40 kg/m2)
             •   Sickle cell disease
             •   Smoking
             •   Type 2 diabetes mellitus

  Coronavirus Disease 2019 (COVID-19): People Who Are at Higher Risk for Severe Illness,

  Ctrs. for Disease Control & Prevention, https://www.cdc.gov/coronavirus/2019-ncov/need-

  extra-precautions/people-with-medical-conditions.html (last updated Oct. 16, 2020). “Because

  one of Hoyle’s medical conditions is recognized by the CDC as increasing the risk of severe

  illness from COVID-19, the United States agrees that Hoyle has identified an extraordinary and

  compelling reason for release.” [United States’ Resp. at 9].

         But the fact that Mr. Hoyle is an at-risk individual under the CDC’s guidelines does not,

  in and of itself, entitle him to compassionate release. Before ordering compassionate release, the

  Court also has to determine that (1) he “is not a danger to the safety of any other person or to

  the community, as provided in 18 U.S.C. § 3142(g),” (2) a reduced sentence is consistent with

  §3553(a)’s factors, to the extent they are applicable, and (3) a reduced sentence is otherwise

  consistent with USSG § 1B1.13’s policy statements. USSG § 1B1.13(2)–(3); see § 3582(c)(1)(A)

  (providing that “[t]he court may not modify a term of imprisonment once it has been imposed

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  except that . . . such a reduction is consistent with applicable policy statements issued by the

  Sentencing Commission” and “the factors set forth in section 3553(a) to the extent that they are

  applicable”); United States v. Resnick, 451 F. Supp. 3d 262, 265 (S.D.N.Y. 2020) (“The First

  Step Act did not amend the eligibility requirements for compassionate release, which are set forth

  in 18 U.S.C. § 3582(c)(l)(A) and Section 1B1.13 of the United States Sentencing Guidelines.”).

         A. Danger to the Safety of Others or the Community

         Section 3142(g) contains the factors that courts must consider in determining whether a

  defendant should be detained pending trial, and it states:

         (g) Factors to be considered.—The judicial officer shall, in determining whether
         there are conditions of release that will reasonably assure the appearance of the
         person as required and the safety of any other person and the community, take into
         account the available information concerning—

         (1) the nature and circumstances of the offense charged, including whether the
         offense is a crime of violence, a violation of section 1591, a Federal crime of
         terrorism, or involves a minor victim or a controlled substance, firearm, explosive,
         or destructive device;

         (2) the weight of the evidence against the person;

         (3) the history and characteristics of the person, including—

                 (A) the person’s character, physical and mental condition, family
                 ties, employment, financial resources, length of residence in the
                 community, community ties, past conduct, history relating to drug
                 or alcohol abuse, criminal history, and record concerning
                 appearance at court proceedings; and

                 (B) whether, at the time of the current offense or arrest, the person
                 was on probation, on parole, or on other release pending trial,
                 sentencing, appeal, or completion of sentence for an offense under
                 Federal, State, or local law; and

         (4) the nature and seriousness of the danger to any person or the community
         that would be posed by the person’s release.

  18 U.S.C. § 3142(g).


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          Having considered § 3142(g)’s factors and refamiliarized itself with Mr. Hoyle’s

  presentence investigation report [Doc. 32], the Court is of the conviction that Mr. Hoyle would

  be a danger to the community if it were to order his release under § 3582(c)(1)(A). As for the

  nature and circumstances of Mr. Hoyle’s offense, Mr. Hoyle argues that he is not a danger to

  the minor victim in this case or the community because he “did not use a weapon, was not on

  parole or probation etc., did not harm anyone physically, nor were threats made.” [Def.’s Mot. at

  12]. Mr. Hoyle’s argument—as was true of his allocution—is not only breathtakingly out of

  touch with the evidence but is also a disturbing attempt to downplay his offense.

          First of all, Mr. Hoyle ignores the fact that § 3142(g)(1) specifically requires the Court

  to consider whether the offense at issue “involves a minor victim,” which it does in this case.

  Second, although Mr. Hoyle claims that he “did not harm anyone physically,” [Def.’s Mot. at

  12], the record shows that he sexually assaulted the minor victim on more than one occasion,

  [PSR at 4, 5]. 1 Third, the weight of the evidence against Mr. Hoyle is considerable, consisting

  of thousands of text messages with sexually explicit language and images, [id. at 6], as well as

  Mr. Hoyle’s own admission, under oath, that on May 24, 2013—the date on which authorities

  apprehended him—he drove from his residence to a public location with the intent to engage

  the minor victim in sexual activity, see [Plea Agreement at 2; Minute Entry]. Yet, perhaps most

  troubling is the evidence showing that Mr. Hoyle’s efforts to entice the minor victim spanned

  the course of a year, over which time he even became involved as a volunteer in a Christian

  youth program at the minor victim’s high school. [PSR at 3, 5, 6]. Simply put, these facts—each



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              As a general matter, when a defendant does not “produce some evidence that calls the reliability or
  correctness of the alleged facts [in the PSR] into question,” a district court “may rely entirely on the PSR.” United
  States v. Lang, 333 F.3d 678, 681 (6th Cir. 2003) (quotation omitted); see United States v. Roark, 403 F. App’x 1, 4
  n.2 (6th Cir. 2010) (“[T]he PSR is evidence, at least in the sense that it may be considered at sentencing.” (citing
  United States v. Silverman, 976 F.2d 1502, 1511 (6th Cir. 1992))).

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  one of which chronicles a calculated, persistent, and classic pattern of predatory behavior—are

  not facts under which Mr. Hoyle can realistically argue that his release would not pose a danger

  to the minor victim or the community.

         Lastly, § 3142(g)(3)(A) states that an analysis of a defendant’s history and characteristics

  should also include, when relevant, the “record concerning appearance at court proceedings,”

  and the Court considers this factor to be highly relevant here. During Mr. Hoyle’s sentencing

  hearing, Mr. Hoyle’s allocution disturbed the Court and compelled it to sentence Mr. Hoyle to

  an increased term of supervised release because of his attempts to “den[y]” and “minimize[e]”

  his conduct and because of his “lack of candor” and “potentially outright false statements,

  either made to [the Court] at the time of the change of plea hearing or made here today.” [Hr’g

  Tr. at 39:8–11]. When allocuting to the Court, Mr. Hoyle, for example, stated that, on May 24,

  2013, he “never [traveled to meet the minor victim] with the thoughts of sex on [his] mind and

  that never even crossed [his] mind.” [Id. at 17:24–25]. Rather, he said, he went to meet the minor

  victim because he “thought he was in trouble and needed help.” [Id. at 17:25, 18:1–2].

         These statements, in the Court’s view, “raise[d] some obvious questions” about the

  authenticity of Mr. Hoyle’s allocution. [Id. at 21:10–11].

         The Court: If I understand you correctly, it is your assertion that you went to Erwin
         on May 24 for the purpose of helping this victim with some sort of personal need
         in his life, not to engage him in sexual conduct.

         Mr. Hoyle: That’s exactly true, Your Honor.

         The Court: I’m looking at the stipulation of facts that’s contained in your plea
         agreement. Here’s what it says, on May 24, 2013, the defendant, that’s you, drove
         from his home in Johnson City, Washington County, Tennessee, to a public location
         in Erwin, Unicoi County, Tennessee, for the purpose of meeting and engaging an
         individual under the age of 18 in illegal sexual activity. Which one is true?




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  [Id. at 21:11–24]. In sentencing Mr. Hoyle, the Court concluded that his lack of candor and his

  denial of his criminal conduct meant that he could very likely commit further criminal acts in

  the future. [Id. at 48:12–23]. So the record of Mr. Hoyle’s sentencing hearing is a factor that

  heavily weighs against his release, as do all the relevant factors under § 3142(g).

           B. Section 3553(a)’s Factors

         Because the Court is not satisfied that Mr. Hoyle would not pose a danger to the minor

  victim or to the community if it were to order his release, it has no need to engage in a lengthy

  discussion of § 3553(a)’s factors. 2 Also, because the Court “considered the relevant factors in

  some depth at the original sentencing,” it is under no obligation to readdress all of those factors

  now. United States v. Curry, 606 F.3d 323, 331 (6th Cir. 2010); see United States v. Jones, 407

  F. App’x 22, 25 (6th Cir. 2011) (recognizing that in Curry “we held that the district court did not

  abuse its discretion even though it had not expressly considered all of the § 3553(a) factors”

  because “§ 3582(c)(2) proceedings ‘do not constitute a full resentencing of the defendant’ and do

  not require the same procedural formalities as plenary sentencings” (quoting id. at 330–31)); see

  also [Hr’g Tr. at 39:12–25, 40:1–25, 41:1–25, 42:1–25, 43:1–25, 44:1–25, 45:1–25, 46:1–25,

  47:1–25, 48:1–25, 49:1–25, 50:1–25, 51:1–25, 52:1–25, 53:1–25, 54:1–25, 55:1–25, 56:1–18

  (addressing all of § 3553(a)’s factors in detail)]. In light of Mr. Hoyle’s continued efforts to

  downplay the severity of his offense, the Court does, however, see the need to reemphasize the

  extreme seriousness of that offense under § 3353(a)(2)(A), which does not warrant his early

  release. See United States v. Dobrowolski, 406 F. App’x 11, 13 (6th Cir. 2010) (stating that “the


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             These factors include the “nature and circumstances of the offense”; the “history and characteristics of the
  defendant”; the “need for the sentence imposed” to “reflect the seriousness of the offense,” to “promote respect for
  the law,” and “to provide just punishment for the offense”; the “sentencing range established” for the defendant’s
  offense; and the “need to avoid unwarranted sentence disparities among defendants with similar records who have
  been found guilty of similar conduct.” § 3553(a)(1)–(2), (4), (6).


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  attempted sexual enticement of a minor is a very serious crime” and that “Congress intended to

  impose lengthy mandatory-minimum sentences in [such] cases”).

         C. FMC Lexington

         Lastly, in moving for compassionate release under § 3582(c)(1)(A), Mr. Hoyle correctly

  observes that “[m]ost courts require a showing that the virus is actually present at the relevant

  facility and that the concern is not some generalized or speculative fear of COVID-19.” [Def.’s

  Mot. at 7]. A prisoner’s compassionate release is an extraordinary and rare occurrence, see

  United States v. Dusenbery, No. 5:91-cr-291, 2019 WL 6111418, at *2 (N.D. Ohio Nov. 18,

  2019) (observing that “[c]ompassionate release due to a medical condition is an extraordinary

  and rare event” (quotation omitted)), and the general threat of COVID-19—that is, the fear that

  it may infiltrate a prison’s population—cannot justify it, see United States v. Raia, 954 F.3d 594,

  597 (3d Cir. 2020) (“[T]he mere existence of COVID-19 in society and the possibility that it

  may spread to a particular prison alone cannot independently justify compassionate release[.]”);

  United States v. Smoot, No. 2:19-CR-20, 2020 WL 1501810, at *3 (S.D. Ohio Mar. 30, 2020)

  (“The mere possibility of an outbreak at his facility does not equate to a compelling enough

  reason to justify [the defendant’s] release.” (citation omitted)); United States v. Eberhart, ___ F.

  Supp. 3d ___, 2020 WL 1450745, at *2 (N.D. Cal. Mar. 25, 2020) (“[A] reduction of sentence

  due solely to concerns about the spread of COVID-19 is not consistent with the applicable

  policy statement of the Sentencing Commission as required by § 3582(c)(1)(A).”).

         COVID-19 has not affected FMC Lexington to the same degree as other federal facilities

  throughout the country. The Federal Bureau of Prisons (“BOP”) reports only four active cases

  among the inmates and one active case among the staff at FMC Lexington. COVID-19 Cases,

  Fed. Bureau of Prisons, https://www.bop.gov/coronavirus/ (last updated Oct. 16, 2020). And,


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   importantly, Mr. Hoyle does not claim that he has been exposed to COVID-19 or that the BOP

   has failed to take swift, appropriate, and effective measures to quarantine the infected inmates

   and staff member. Under these circumstances, Mr. Hoyle is not entitled to compassionate release.

   Cf. United States v. You, No. 20- 5390, at 2 (6th Cir. Apr. 22, 2020) (PACER) (noting the scarcity

   of “COVID-19 cases at [the defendant’s] present facility” and observing that “her facility has

   implemented precautionary measures to protect those detained in the facility”); see Raia, 954

   F.3d at 597 (referring to the BOP’s “extensive and professional efforts to curtail the virus’s

   spread” (citation omitted)); United States v. Elebesunu, No. GJH-13-008, 2020 WL 3791978, at

   *2 (D. Md. July 7, 2020) (“Under circumstances such as these where the number of cases at

   the facility is low and BOP appears to have controlled the spread, the imminence of the risk to

   [the defendant] is diminished and weighs against granting compassionate release.” (citation

   omitted)); United States v. Arafat, No. 12-cr-45, 2020 WL 3790727, at *6 (D. Minn. July 7, 2020)

   (“[E]ven assuming [the defendant’s] underlying medical conditions exist, [he] has failed to

   demonstrate a particularized risk of contracting the disease. To date, FCI-Sandstone has only one

   reported case of COVID- 19.” (citation omitted)).

                                          III. CONCLUSION

          In sum, the Court sympathizes with Mr. Hoyle’s concerns, but he is not entitled to

   compassionate release under § 3582(c)(1)(A) because USSG § 1B1.13 and § 3553(a)’s factors

   militate against his release. His Pro Se Motion for Compassionate Release Pursuant to 18 U.S.C.

   § 3582(c)(1)(A) [Doc. 60] is therefore DENIED.




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         So ordered.

         ENTER:


                                            s/J. RONNIE GREER
                                       UNITED STATES DISTRICT JUDGE




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